      Case 4:23-cv-03165 Document 7 Filed on 11/20/23 in TXSD Page 1 of 3
                                                                             United States District Court
                                                                               Southern District of Texas
                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                             ENTERED
                            HOUSTON DIVISION                                  November 20, 2023
                                                                               Nathan Ochsner, Clerk

Anthony D Jackson, et al.

      Plaintiff,
vs.                                                     Case No.: 4:23−cv−03165
                                                        Judge Keith P Ellison

AmCap Mortgage Ltd. , et al.

      Defendant.

                   NOTICE REGARDING INITIAL CONFERENCE

       This notice is being issued in connection with the above referenced proceeding.
We are currently scheduled for an initial, or scheduling, conference. As a standard
practice in this court, we ask that parties try to agree to dates and deadlines and submit
them in the form of a proposed scheduling order. If the parties are able to reach an
agreement, the Court will dispense with the conference. I am attaching the standard
form scheduling order, which can also be downloaded from the court's website:
www.txs.uscourts.gov.
        In working through the schedule, please keep in mind that trial is normally
scheduled within fifteen months after the case is filed in, or removed to, federal court.
Dispositive motions should be filed three months prior to the trial date. In the attached
proposed scheduling order, we have included specific due dates for dispositive motions
and the joint pretrial order. We have also noted a trial date based on the guidelines
stated above.
      If you return the completed scheduling order one week prior to your scheduled
hearing, the conference will be cancelled. The order should be e-mailed to my Case
Manager, Arturo Rivera at Arturo_Rivera@txs.uscourts.gov.

      Signed on November 20, 2023, at Houston, Texas.
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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Anthony D Jackson, et al.                   §
                                            §
versus                                      §        Civil Action 4:23−cv−03165
                                            §
AmCap Mortgage Ltd., et al.                 §

                SCHEDULING/DOCKETING CONTROL ORDER

     Anticipated Length of Trial:______Days               Jury:______ Non-Jury:______

1.   (a) NEW PARTIES shall be joined by:                  _______________________
         The Attorney causing the addition of new
         parties will provide copies of this Order to new
         parties.
     (b) AMENDMENT to PLEADINGS
         by Plaintiff or Counter-Plaintiff shall be filed
         by:                                              _______________________

2. EXPERT WITNESSES for the PLAINTIFF will
   be identified by a report listing the qualifications
   of each expert, each opinion that the expert will
   present, and the basis for it. DUE DATE:                 _______________________

3. EXPERT WITNESSES for the DEFENDANT
   will be identified by a report listing the
   qualifications of each expert, each opinion that
   the expert will present, and the basis for it. DUE
   DATE:                                                    _______________________

4. DISCOVERY must be completed by:                          _______________________
                                                            (Due at least two weeks before motions deadline)
   Written discovery requests are not timely if they
   are filed so close to this deadline that the
   recipient would not be required under the Federal
   Rules of Civil Procedure to respond until after the
   deadline.

5. DISPOSITIVE AND NON-DISPOSITIVE
   MOTIONS                                                                   9/16/24
                                                                      (Due 90 days prior to Trial)
   (except motions in limine) will be filed by:
       Case 4:23-cv-03165 Document 7 Filed on 11/20/23 in TXSD Page 3 of 3


6. JOINT PRETRIAL ORDER and MOTIONS IN
   LIMINE will be filed by:                                         12/9/24
   (The Court will fill in this date)                       (Due the Monday before trial)



7. TRIAL will begin at 9:00 a.m.                                   12/16/24
   (The Court sets a firm trial date)                    (15 Months from the date case filed)




Date                                                Keith P. Ellison
                                               United States District Judge




Date                                             Counsel for Plaintiff(s)




Date                                            Counsel for Defendant(s)
